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 1   WALSH & ASSOCIATES, APC
     16633 Ventura Boulevard, Suite 800
 2
     Encino, CA 91436
 3   Telephone: (818) 986-1776
     Facsimile: (818) 382-2071
 4
     DENNIS J. WALSH, Esq. (SBN 106646)
 5   Email: dwalsh@walshlawyers.com
     ARASH ARJANG, Esq. (SBN 276237)
 6
     Email: aarjang@walshlawyers.com
 7
 8   Attorneys for Defendants, JURUPA UNIFIED
     SCHOOL DISTRICT, TRENTON HANSEN, and
 9   DANIEL BROOKS
10                             UNITED STATES DISTRICT COURT
11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13   JESSICA TAPIA, an individual,              Case No.: 5:23-cv-00789-FMO-E
14
                  Plaintiff,                    DEFENDANTS’ REPLY TO
15                                              PLAINTIFF’S OPPOSITION TO
16         v.                                   MOTION TO DISMISS
17   JURUPA UNIFIED SCHOOL                      Date: September 21, 2023
18   DISTRICT; TRENTON HANSEN,                  Time: 10:00 a.m.
     both in his personal capacity and in his   Place: Courtroom 6D
19   official capacity as the Jurupa Unified           350 W. 1st Street
20   School District Superintendent;                   Los Angeles, CA 90012
     DANIEL BROOKS, both in his
21   personal capacity and in his official      Hon. Fernando M. Olguin, United States
22   capacity as Jurupa Unified School          District Judge
     District Assistant Superintendent,
23                                              Magistrate Judge: Hon. Charles F. Eick
24
                  Defendants.                   Action Date:May 3, 2023
25
                                                Trial date: Not Set
26
27
28
                    MEMORANDUM OF POINTS AND AUTHORITIES
                        CASE NO. 5:23-cv-00789-FMO-E - 1
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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     PLAINTIFF HAS FAILED TO MEET HER BURDEN TO CITE TO A
 3          SINGLE CASE THAT STANDS FOR THE PROPOSITION THAT
 4          DEFENDANTS TRENTON HANSEN AND DANIEL BROOKS
 5          VIOLATED A CLEARLY ESTABLISHED RIGHT
 6          Where a defendant properly raises the defense of qualified immunity, “[i]t is the
 7   plaintiff who bears the burden of showing that the rights allegedly violated [are]
 8   clearly established.” Shafer v Cnty. of Santa Barbara, 868 F.3d 1110, 1118 (9th Cir.
 9   2017). In both her First Amended Complaint (“FAC”), and in her opposition, Ms. Tapia
10   has clearly failed to meet her burden of showing that her constitutional rights which
11   were purportedly violated were clearly established at the time of the violations. Instead
12   of focusing on meeting her burden, Ms. Tapia incorrectly asserts that Defendants
13   Trenton Hansen and Daniel Brooks (“Mr. Hansen and Mr. Brooks”) failed to address
14   the first prong of the qualified immunity test (which Mr. Hansen and Mr. Brooks
15   vehemently deny), and as a result, Mr. Hansen and Mr. Brooks should not be allowed
16   to raise the defense of qualified immunity. This argument is flawed because first, Mr.
17   Hansen and Mr. Brooks did state in their motion to dismiss that throughout her FAC,
18   Plaintiff has only made “vague references to her constitutional rights” which were not
19   “applicable to the facts of this case.” (Mtn. p. 18, lines 25-26). Second, and more
20   importantly, to determine whether qualified immunity applies, the “two prongs of the
21   analysis need not be considered in any particular order, and both prongs must be
22   satisfied for a plaintiff to overcome a qualified immunity defense.” Shafer v. Cnty. of
23   Santa Barbara, 868 F.3d 1110, 1115 (9th Cir. 2017); see also Pearson v. Callahan, 555
24   U.S. 223, 236 (2009)(“Pearson”)(stating "The judges of the district courts and the
25   courts of appeals should be permitted to exercise their sound discretion in deciding
26   which of the two prongs of the qualified immunity analysis should be addressed first in
27   light of the circumstances in the particular case at hand.”) In their motion to dismiss,
28
          DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO
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 1   Mr. Hansen and Mr. Brooks chose to focus their argument on the second prong of the
 2   qualified immunity defense under the guidance of the United States Supreme Court in
 3   Pearson, which reasoned as follows, in pertinent part:
 4         “At the same time, however, the rigid Saucier procedure comes with a
 5         price. The procedure sometimes results in a substantial expenditure of
 6         scarce judicial resources on difficult questions that have no effect on the
 7         outcome of the case. There are cases in which it is plain that a
 8         constitutional right is not clearly established but far from obvious whether
 9         in fact there is such a right. District courts and courts of appeals with
10         heavy caseloads are often understandably unenthusiastic about what may
11         seem to be an essentially academic exercise.
12         Unnecessary litigation of constitutional issues also wastes the parties’
13         resources. Qualified immunity is “an immunity from suit rather than a
14         mere defense to liability.” Mitchell, 472 U.S., at 526, 105 S.Ct. 2806
15         (emphasis deleted). Saucier’s two-step protocol “disserve[s] the purpose
16         of qualified immunity” when it “forces the parties to endure additional
17         burdens of suit—such as the costs of litigating constitutional questions
18         and delays attributable to resolving them—when the suit otherwise could
19         be disposed of more readily.”
20         …
21         When presented with a constitutional question on which this Court had
22         just granted certiorari, the Ninth Circuit elected to “bypass Saucier’s first
23         step and decide only whether [the alleged right] was clearly established.”
24         …
25         Although the Saucier rule prescribes the sequence in which the issues
26         must be discussed by a court in its opinion, the rule does not—and
27         obviously cannot—specify the sequence in which judges reach their
28                                      2
         DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO
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 1         conclusions in their own internal thought processes. Thus, there will be
 2         cases in which a court will rather quickly and easily decide that there was
 3         no violation of clearly established law before turning to the more difficult
 4         question whether the relevant facts make out a constitutional question at
 5         all.
 6   (Id. at 236-239.)
 7         Under the guidance from Pearson, Mr. Hansen and Mr. Brooks have raised the
 8   defense of qualified immunity, requesting this Court to decide as matter of law whether
 9   Mr. Hansen and Mr. Brooks’ conduct in allowing Ms. Tapia to correct her behavior,
10   and subsequently terminating her employment when she refused to correct her behavior,
11   was objectively reasonable, such that Mr. Hansen and Mr. Brooks would have
12   reasonably believed that their conduct was lawful, given clearly established law and the
13   information they possessed at the time. Anderson v. Creighton, 483 U.S. 635, 641
14   (1987). The issue to be decided is whether Mr. Hansen and Mr. Brooks should be held
15   legally responsible for monetary damages for issuing the “Directives” to Ms. Tapia to
16   allow her to correct her behavior and remain an employee of the District, and
17   subsequently terminating her employment when she refused to follow the “Directives”.
18   (FAC, Exh. C.)
19         As noted in the moving papers, Ms. Tapia has made fatal admissions in her FAC,
20   specifically in “Exhibit C”, in that her religious beliefs mandated her to only refer to
21   students by their name and gender pronouns that were on her roster, as opposed to the
22   student’s preferred pronoun, resulting in a direct violation of California’s harassment
23   and anti-discrimination laws, and in the event that the District failed to correct this
24   behavior, would result in liability under California Education Code § 200, et. seq. and
25   Title IX. As noted in the dissenting opinion of Justice Alito in Bostock v. Clayton Cnty.,
26   Georgia, 140 S. Ct. 1731, 1782 (2020), “[a]fter today's decision, plaintiffs may claim
27   that the failure to use their preferred pronoun violates one of the federal laws prohibiting
28                                      3
         DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO
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 1   sex discrimination.”    Indeed, this “Directive” was consistent with the District’s
 2   responsibility to provide a safe and inclusive learning environment for all students,
 3   including transgender students (especially after the Supreme Court’s ruling in Bostock),
 4   and consistent with the District’s obligations under the Equal Protection Clause, Title
 5   IX, and California Education Code § 200.1
 6         Furthermore, as noted in “Exhibit C” to Ms. Tapia’s FAC, Ms. Tapia specifically
 7   refused to comply with the District’s directive to “refrain from publicly posting on [her]
 8   social media pages that adversely affect[ed] [her] relationship with students. Again, as
 9   Ms. Tapia admitted in her FAC, she “received disturbing messages and comments on
10   her personal Instagram account from alleged Jurupa Valley High School students,
11   regarding her posts. (FAC, ¶ 35-36.) Had the District allowed Ms. Tapia to continue
12   to post offensive comments about transgender students, it could face liability for failure
13   to correct Ms. Tapia’s offensive posts which expressed negative attitudes, feelings, or
14   actions towards transgender people or transness in general. Again, the possibility for
15   litigation for failure to investigate and correct Ms. Tapia’s views on transgender
16   individuals is now very real under the Supreme Court’s holding in Bostock.
17   Furthermore, Ms. Tapia’s religious belief which mandated her to refuse to comply with
18   the directive to refrain from discussing religious beliefs or the Bible with students (See
19   FAC, Exh. C.) has already been held by the Ninth Circuit to be unlawful. 2
20
21
     1
       See Fitzgerald v. Barnstable Sch. Comm., 555 U.S. 246, 257-58 (2009), holding that
22   the Equal Protection Clause of the Fourteenth Amendment to the Constitution protects
23   students and allows plaintiffs to allege unconstitutional gender discrimination in
     schools.
24   2
       School district's restriction on high school biology teacher's right of free speech in
25   prohibiting teacher from talking with students about religion during school day,
     including times when he was not actually teaching class, was justified by school
26   district's interest in avoiding establishment clause violation which would result if
27   teacher were permitted to discuss his religious beliefs with students during school time
     on school grounds; such speech would not have had secular purpose, would have had
28                                                   4
          DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO
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 1         Furthermore, and although not noted in Exhibit C, Ms. Tapia refused to comply
 2   with the District’s Directive to affirm a child’s preferred gender and allow them to use
 3   the locker room or bathroom of their choice. FAC, ¶ 62, 67, 84. Ms. Tapia’s refusal to
 4   abide by this directive was a direct violation of California Education Code § 210.7 and
 5   § 221.5(f), which states that “[a] pupil shall be permitted to participate in sex-segregated
 6   school programs and activities, including athletic teams and competitions, and use
 7   facilities consistent with his or her gender identity, irrespective of the gender listed on
 8   the pupil's records.”
 9         Lastly, Plaintiff’s refusal to comply with the (purported) Directive3 to withhold
10   information from parents related to the student’s gender pronoun preference, was
11   recently addressed by the California Attorney General (“AG”) in a lawsuit filed by the
12   AG against Chino Valley Unified School District in the County of San Bernardino, Case
13   No. CIVSB 2317301, filed on August 28, 2023 4 5. In this lawsuit, the AG has asked
14   the San Bernardino County Superior Court to end a district policy that requires school
15   staff to tell parents if their child asks to be identified by a different gender or name, or
16   accesses a bathroom or program that don’t align with the gender on their official
17   records. On September 6, 2023, the Honorable Thomas S. Garza granted the AG’s ex-
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19
     primary effect of advancing religion, and would have entangled school with religion.
20   Peloza v. Capistrano Unified Sch. Dist., 37 F.3d 517 (9th Cir. 1994).
21
     3
       The District notes that this Directive, although disputed as asserted by Ms. Tapia, is
     the District’s attempt to comply with California Department of Education’s FAQ related
22   to AB1266, Questions 6 and 7. (See Request for Judicial Notice, Exh. 11.)
23
     4
       For the convenience of the Court, a true and correct copy of the Complaint is attached
     with this reply brief as Exhibit “1”, along with the Minute Order. The District requests
24   that the Court take judicial notice of the Complaint and the Minute Order granting the
25   request for a Temporary Restraining Order by the California AG.
     5
       The filing of this lawsuit by the AG further extinguishes any attempt by Plaintiff to
26   argue that a potential lawsuit cannot be used as a reason to terminate her employment.
27   The lawsuit by the AG is very real, and the same grounds can be used by transgender
     students to sue the District for failing to protect their constitutional rights.
28                                                      5
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 1   parte application for a temporary restraining order to stop the school district from
 2   enforcing the board policy. A destroy hearing has been scheduled regarding the
 3   issuance of a preliminary injunction on October 13, 2023.
 4         Qualified immunity is a judicial doctrine designed to protect public officials
 5   “from undue interference with their duties and from potentially disabling threats of
 6   liability,” Elder v. Holloway, 510 U.S. 510, 514 (1994), and ensure that “insubstantial
 7   claims” against government officials will be dismissed before discovery. Anderson v.
 8   Creighton, 483 U.S. 635, 640 n.2 (1987). Qualified immunity thus confers not only an
 9   immunity against liability, but also immunity from suit and other burdens of litigation,
10   so long as the official did not violate clearly established law. Mitchell v. Forsyth, 472
11   U.S. 511, 526 (1985). “[P]ermitting damage suits against government officials can
12   entail substantial social costs, including the risk that fear of personal monetary liability
13   and harassing litigation will unduly inhibit officials in the discharge of their duties.”
14   Anderson, 483 U.S. at 638. A public official who faced monetary liability for all
15   violations of federal laws might be unwilling to carry out their public responsibilities
16   “with the decisiveness and the judgment required by the public good.” Scheuer v.
17   Rhodes, 416 U.S. 232, 240 (1974). It is accordingly important to resolve questions of
18   qualified immunity at the earliest possible stage of litigation. Hunter v. Bryant, 502 U.S.
19   224, 227 (1991). In Harlow v. Fitzgerald, 457 U.S. 800, 800 (1982), the U.S. Supreme
20   Court established an objective reasonableness test for qualified immunity based on
21   whether the official violated clearly established federal law. Under this test, an official
22   who (purportedly) acted unconstitutionally—but did not violate clearly established
23   law—will be found to have acted in an objectively reasonable manner and will be
24   protected from personal liability by qualified immunity. Id.
25         Here, all of Plaintiff’s constitutional claims against Mr. Hansen and Mr. Brooks
26   fail because, even assuming arguendo that Ms. Tapia has sufficiently alleged a violation
27   of a constitutional right, she has failed to point to a single case that stands for the
28                                      6
         DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO
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 1   proposition that her constitutional right was “clearly established” at the time the District
 2   gave her the Directives, and at the time her employment was terminated because she
 3   refused to comply with the Directives. In her FAC, Plaintiff fails to allege that her
 4   rights were clearly established in any of her claims, with the vague reference in
 5   Paragraph 167 of her FAC that clearly established law bars the government from
 6   retaliating against Americans for exercising their constitutional rights, with no citation
 7   to an actual case that stands for such proposition. Even worse, in her opposition, Ms.
 8   Tapia fails to meet her burden by citing to a single case that stands for the proposition
 9   that Mr. Hansen and Mr. Brooks’ conduct violated clearly established rights of Ms.
10   Tapia of which any reasonable person would have known. The question for purposes
11   of qualified immunity is whether Mr. Hansen and Mr. Brooks could have reasonably
12   believed that their conduct in allowing Ms. Tapia to correct her unlawful behavior, and
13   subsequently terminating her after she refused to correct her unlawful behavior, was
14   lawful in and of itself, given clearly established law and the information they possessed.
15   The Court focuses on the “objective” and “fact specific” question of “whether a
16   reasonable [official] could have believed [their actions] to be lawful, in light of clearly
17   established law and the information [they] possessed.” Anderson v. Creighton, 483 U.S.
18   635, 641 (1987). Ultimately, the official is entitled to qualified immunity unless “it
19   would be clear to a reasonable officer that his conduct was unlawful in the situation he
20   confronted.”    Saucier v. Katz, 533 U.S. 194, 201–02 (2001). While there need not
21   necessarily be precedent on all fours with the present case adjudging the defendants’
22   conduct unlawful, the “existing precedent must have placed the statutory or
23   constitutional question beyond debate.” Ashcroft v. Al-Kidd, 563 U.S. 731, 741 (2011).
24         As a threshold matter, under the law available to Mr. Hansen and Mr. Brooks, it
25   was reasonable for them to allow Ms. Tapia time to familiarize herself with the laws
26   protecting transgender students, and correct her behavior by following the Directives.
27   Any failure to investigate the student complaints would have resulted in a host of
28                                      7
         DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO
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 1   lawsuits and investigations by the California Department of Education and the United
 2   States Office of Civil Rights, in addition to civil lawsuits for damages by the affected
 3   students. Mr. Hansen and Mr. Brooks were required by law and the District’s board
 4   policies to investigate the student complaints and put an end to Ms. Tapia’s
 5   discriminatory social media posts and discriminatory practices and beliefs.           The
 6   Directives were given to Ms. Tapia, such that she would be in compliance with state
 7   and federal laws, but instead, Ms. Tapia objected to the directives and continued to insist
 8   that her religious beliefs mandated her to violate state and federal laws. Given the
 9   unprecedented nature of the situation, where a teacher insists on violating state and
10   federal laws because of her religious beliefs, the contours of Ms. Tapia’s constitutional
11   rights are not “clearly established”, and Mr. Hansen and Mr. Brooks acted reasonably
12   in the absence of guidance from clearly established law.
13         A defendant sued under 42 U.S.C. § 1983 is entitled to qualified immunity when
14   they acted reasonably under the circumstances and did not violate any right that was
15   “clearly established” in light of the specific context of the case. Plaintiff responds to
16   this argument by trying to reframe the issue by making a vague reference that Mr.
17   Hansen and Mr. Brooks knew or should have known that their actions violated Ms.
18   Tapia’s constitutional rights. Yet, the only case in Ms. Tapia’s opposition that she relies
19   on has absolutely nothing to do with the specific facts in this case. In Jones v. Williams,
20   791 F.3d 1023 (9th Cir. 2015), a Muslim former prisoner brought a civil rights action
21   alleging (among other things) that while in prison he had selected and eaten a tamale
22   pie that he later discovered contained pork, which violated his religious beliefs. Id. at
23   1030. Jones averred in a declaration that “Tom Peacock, [an inmate] cook, told Jones
24   that [food service coordinator Richard] Nopp had ordered Peacock to add pork to the
25   meat in the tamale pie and that Peacock added pork as directed while Nopp watched.”
26   Id. at 1029. The facts in Jones have absolutely nothing to do with whether a teacher
27   should be allowed to continue to discriminate against transgender students on the basis
28                                      8
         DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO
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 1   of the teacher’s religious beliefs.
 2         Plaintiff’s arguments are, ultimately, too general to overcome the high bar of
 3   qualified immunity.      As the Ninth Circuit repeatedly explained, “[f]raming the
 4   constitutional principle in . . . general terms . . . ‘avoids the crucial question whether the
 5   official acted reasonably in the particular circumstances that he or she faced.’” Sabra v.
 6   Maricopa Cnty. Comm. Coll. Dist., 44 F.4th 867, 890 (9th Cir. 2022) (quoting Plumhoff
 7   v. Rickard, 572 U.S. 765, 779 (2014)). Instead, the Court’s “inquiry into whether a
 8   particular right is clearly established ‘must be undertaken in light of the specific context
 9   of the case, not as a broad general proposition.’” Id. (quoting Brosseau v. Haugen, 543
10   U.S. 194, 198 (2004)).
11         Moreover, just as Plaintiff may not frame the issues too abstractly, Plaintiff
12   likewise may not overcome qualified immunity with merely conclusory allegations. See
13   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Plaintiff instead must allege specific
14   conduct that plausibly shows that Defendants acted in such a way that was so obviously
15   wrong that it was unconstitutional “beyond debate.” Ashcroft v. Al-Kidd, 563 U.S. 731,
16   741 (2011). The question the Court must examine is whether Mr. Hansen and Mr.
17   Brooks acted reasonably in the particular circumstances that they faced.                 The
18   conclusions reached by Mr. Hansen and Mr. Brooks in terminating Ms. Tapia’s
19   employment was necessitated as a result of her admitted violations of state and federal
20   law, which if not stopped, would expose the District to significant liability and exposure
21   from both transgender students and their parents, the California Department of
22   Education, the California Attorney General, the United States Department of Education,
23   Office of Civil Rights, and the potential loss of federal funding if a Title IX investigation
24   determined that the District was in violation of Title IX for deliberate indifference to
25   the student complaints. Plaintiff cannot overcome these concerns by simply stating that
26   Mr. Hansen and Mr. Brooks violated her constitutional rights by terminating her.
27   Plaintiff also fails to explain how Mr. Hansen and Mr. Brooks could accommodate
28                                      9
         DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO
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 1   Plaintiff’s self-admitted violations of state and federal law. Therefore, it was entirely
 2   reasonable, from an objective standard, for Mr. Hansen and Mr. Brooks to give an
 3   opportunity to Ms. Tapia to correct her actions. When that failed, and when Ms. Tapia
 4   made it clear that she would continue to violate state and federal laws, it was entirely
 5   reasonable for Mr. Hansen and Mr. Brooks to terminate Ms. Tapia’s employment. In
 6   summary, Plaintiff has failed to identify a single case where school administrators who
 7   were exercising their duty under similar circumstances to correct a school teacher’s
 8   unlawful behavior were held to have violated the teacher’s constitutional rights. See
 9   Shafer v. Cnty. of Santa Barbara, 868 F.3d 1110, 1117 (9th Cir. 2017)(holding that to
10   satisfy this step, Plaintiff must identify a case where the state official was held to have
11   violated the constitutional rights under similar circumstances). Her failure to meet this
12   burden should result in the dismissal of her § 1983 claims against Mr. Hansen and Mr.
13   Brooks. To the extent the Court is inclined to hear arguments under the first prong of
14   the qualified immunity test, Defendants request that the Court allow the Parties to
15   prepare supplemental briefs dealing with the first prong of the qualified immunity test.
16         Plaintiff also attempts to get around the eleventh amendment immunity by
17   arguing that she is only seeking prospective relief in the form of reinstatement.
18   However, the Ex parte Young doctrine does not apply to state entity defendants as they
19   are not subject to suit under Section 1983, for any form of relief, because they are state
20   agencies for purposes of the Eleventh Amendment, and as such, therefore are not
21   “persons” who are subject to suit within the statutory meaning of Section 1983. Will v.
22   Michigan Dep’t of State Police, 491 U.S. 58, 71 (1989). More importantly, if the Court
23   were to grant Ms. Tapia’s request for relief for reinstatement, the Court would in
24   essence be forcing the District to continue to allow Ms. Tapia to violate federal and state
25   law, as she has made it clear that her religious beliefs will never change, and which
26   would expose the District to liability and loss of federal funding. As such, a prospective
27   relief for reinstatement should not be considered as an available prospective relief.
28                                      10
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 1   Dated: September 7, 2023                Respectfully Submitted,
                                             WALSH & ASSOCIATES, APC
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 4
                                             ____________________________
 5                                           Dennis J. Walsh, Esq.
                                             Arash Arjang, Esq.
 6
                                             Attorneys for Defendants
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         DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO
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                        EXHIBIT 1
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